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                      UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION


   ANNA JURAVIN, ANNA JURAVIN,
   UNITED MEDICAL GROUP
   INTERNATIONAL INC, DON KARL
   JURAVIN and YNES JURAVIN,

                     Plaintiffs,

   v.                                               Case No: 5:21-cv-514-GAP-PRL

   DENNIS KENNEDY,
   JAMES RYAN,
   BRADLEY SAXTON and
   LAUREN REYNOLDS

                     Defendants.


                                        ORDER

         This cause is before the Court sua sponte. This case was filed in the Ocala

   division October 19, 2021 (Doc. 1). However, the parties are styling their

   documents with headers naming Orlando as the court division. Accordingly, it is
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         ORDERED that the parties shall immediately begin styling their documents

   properly, naming Ocala as the correct division of this court for this case.

         DONE and ORDERED in Chambers on February 28, 2022.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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